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 NJ 199A    (Rev, 01/09) Order Setting Conditions of Release                                                              page 1 of 4



                                                    United States District Court
                                                                 for the
                                                        District of New Jersey


                 United States of America                             )
                            v.                                        )
                      KAY ELLISON                                     )       Case       2:15-CR-622

                            Defendant                                 )

                                    ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that tie defendant’s release is subject to tiese/ conditions:

           (1)       The defendant must not violate any federal, state or local law while on release.

           (2)       The defendant must cooperate in the collection of a DNA sample if the collection is
                     authorized by 42 U.S.C. § 14135a.

           (3)       The defendant must immediately advise the court, defense counsel, and the U.S. attorney in
                     writing before any change in address or telephone number.

           (4)       The defendant must appear in court as required and must surrender to serve any sentence
                     imposed.


                                                               Release on Bond

IT IS FURTHER ORDERED THAT:

           (5)       The defendant shall be released upon executing a $500,000.00 Unsecured Appearance Bond,
                     binding the defendant to pay that amount to the United States in the event the defendant fails
                     to appear or fails to surrender as directed for service of any sentence imposed.




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NJ I99B   (Rev. 01/09) Additional Conditions of Release                                                              page 2 of 4



                                                     Additional Conditions of Release

          (6)       Upon finding that release by the above methods will not by themselves reasonably assure the
                    appearance of the defendant and the safety of other persons and the community, it is further ordered
                    that the release of the defendant is subject to the condition(s) listed below:

                    (a)       Pretrial Services supervision.

                    (b)       Surrender all passports/travel documents to Pretrial Services. Do not apply for new travel
                              documents.

                    (c)       Travel restricted to Kentucky. West Virginia and New Jersey’for court purposes only, unless
                              otherwise approved by Pretrial Services.




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NJ 199C   (Rev. 01/09) Advice of Penalties                                                                                             page 3 of4


                                               ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT: KAY ELLISON

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

          Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a revocation
of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in imprisonment,
a fine, or both.
          While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
          It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation; tamper with
a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt to intimidate
a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more
serious if they involve a killing or attempted killing.
          If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence, you may
be  prosecuted    for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
          (I) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more you will be fined not
                                                                                                                             —




               more than $250,000 or imprisoned for not more than 10 years, or both;
          (2) an offense punishable by imprisonment for a term offive years or more, but less than fifteen years you will be fined not more
                                                                                                                        —




               than $250,000 or imprisoned for not more than five years, or both;
          (3) any other felony you will be fined not more than $250,000 or imprisoned not more than two years, or both;
                                  —




          (4) a misdemeanor you will be fined not more than $100,000 or imprisoned not more than one year, or both.
                                 —




          A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                     Acknowledgment of the Defendant

          I acknowledge that I am the defendant in this case and that I am aware ofthe conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.
                                                                                             /
                                                                          j   c’ Jc
                                                                                 7
                                                                                             Defendant s Signature



                                                                      UJ 2d
                                                                      2
                                                                      c
                                                                                                 City and State


                                                  Directions to the United States Marshal

(X ) The defendant is ORDERED released after processing.
( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
     has posted bond and/or complied with all other conditions for rel.as. lfkill in custody, the defendant must be produced before
     the appropriate judge at the time and place specified.


  Date:      January 5, 2016




                                                             Hon. Susan D. Wigenton, U.S.D.J.
                                                                                             Printed name and title



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